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                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                        Case No.

         Plaintiff,                                FELONY INFORMATION

         vs.                                       COUNT 1: 18 U.S.C. § 1958, Use of
                                                   Interstate Commerce Facilities in the
  KRISTA RENAE STONE,                              Commission of Murder-for-Hire

         Defendant.
                                                   Judge



       The United States Attorney charges:

                                      COUNT 1
                                   18 U.S.C. § 1958
      (Use of Interstate Commerce Facilities in the Commission of Murder-for-Hire)

       Beginning in at least March of 2023 and continuing until on or about September 7,

2023, in the District of Utah and elsewhere,

                                KRISTA RENAE STONE,

the defendant herein, did knowingly and intentionally use and cause to be used, a facility

of interstate commerce, that is, the internet, with intent that the murder of Victim 1 be

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committed in violation of the laws of the State of Utah, and as consideration for the

receipt of, and promise and agreement to pay, money and other items of pecuniary value;

all in violation of 18 U.S.C. § 1958.



                                          TRINA A. HIGGINS
                                          United States Attorney



                                          CAROL A. DAIN
                                          Assistant United States Attorney




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